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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-6434 JWH (MRW) Date January 4, 2021

 

Title Ricky T. v. Saul

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None present None present
Proceedings: ORDER TO SHOW CAUSE RE: DISMISSAL OF UNSERVED
COMPLAINT

This is a pro se appeal of the denial of Social Security disability benefits. Plaintiff filed
the action on July 17, 2020. (Docket #1.) On that date, Plaintiff also requested permission to
proceed in forma pauperis. (Docket # 2.)

On July 24, Magistrate Judge Wilner granted Plaintiff's IFP request and issued a
procedural order. (Docket # 7, 8.) The procedural order explained that Plaintiff was authorized
to serve the complaint on the government, and that the government was required to file a notice
of appearance after receipt of service. However, the case would otherwise be stayed because of
coronavirus and pursuant to Order of the Chief Judge 20-74. The order directed Plaintiff either
to request Marshals’ service within 10 days or to serve the government himself in compliance
with Federal Rule of Civil Procedure 4. (Docket # 8 at 1.)

Plaintiff did neither. He did not file a timely request for Marshals’ service. He also
failed to file proof of service on the government within 90 days of commencement of the action
as required under Rule 4(1) and (m). To date, the government has not appeared in the action and
the complaint does not appear to have been served.

Under Rule 4(m), the Court must dismiss this action. However, in the interests of justice
and in fairness to a self-represented litigant, the Court will give Plaintiff an opportunity to
demonstrate good cause to extend the period of time during which he may serve the complaint.
Plaintiff is ORDERED to respond to this order to show cause by February 1. In the alternative,
Plaintiff may voluntarily dismiss the action.

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